Case 3:17-cv-00072-NKM-JCH Document 354-8 Filed 10/02/18 Page 1 of 2 Pageid#: 3238




                      EXHIBIT 7
Case 3:17-cv-00072-NKM-JCH Document 354-8 Filed 10/02/18 Page 2 of 2 Pageid#: 3239



    From:           James Kolenich
    To:             Yotam Barkai; Seguin L. Strohmeier
    Subject:        Nathan Damigo and Identity Evropa Discovery
    Date:           Monday, April 9, 2018 11:00:23 AM
    Attachments:    damigodiscpacket.pdf
                    IEdiscpacket.pdf


    Counsel: Please find attached discovery responses from Nathan Damigo and from
    Identity Evropa via it's authorized agent Nathan Damigo. Attached documents are
    being produced as highly confidential pursuant to the confidentiality agreement
    governing this case.

    Respectfully,

    Jim

    --
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